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AO 98 (Rev. 12/11) Appearance Bond t HE p
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UNITED STATES DISTRICT COURT @/ Mgp “PSH,

 

 

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Middle District of Florida 7 r OF p . O93
Mp.
United States of America ) * “ORI,
v. )
ROBERT SCOTT PALMER Case No. 8:21-mj-1247-T-JSS
Defendant )
APPEARANCE BOND
Defendant’s Agreement
I, ROBERT SCOTT PALMER (defendant), agree to follow every order of this court, or any

court that considers this case, and | further agree that this bond may be forfeited if 1 fail:
( X ) to appear for court proceedings;
( X ) _ ifconvicted, to surrender to serve a sentence that the court may impose; or
( x) tocomply with all conditions set forth in the Order Setting Conditions of Release.

Type of Bond

() C1) This is a personal recognizance bond.
( X ) (2) This is an unsecured bond of $ _25,000.00

( ) @) This is a secured bond of $ , secured by:

 

( )€@s$ , in cash deposited with the court.

( _) (b) the agreement of the defendant and each surety to forfeit the following cash or other property
(describe the cash or other property, including claims on it — such as a lien, mortgage, or loan — and attach proof of
ownership and value):

If this bond is secured by real property, documents to protect the secured interest may be filed of record.

( _) (c) abail bond with a solvent surety (attach a copy of the bail bond, or describe it and identify the surety):

Forfeiture or Release of the Bond

Forfeiture of the Bond. This appearance bond may be forfeited if the defendant does not comply with the above
agreement. The court may immediately order the amount of the bond surrendered to the United States, including the
security for the bond, if the defendant does not comply with the agreement. At the request of the United States, the court
may order a judgment of forfeiture against the defendant and each surety for the entire amount of the bond, including
interest and costs.
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Page 2

AO 98 (Rev. 12/11) Appearance Bond

 

Release of the Bond. The court may order this appearance bond ended at any time. This bond will be satisfied and the
security will be released when either: (1) the defendant is found not guilty on all charges, or (2) the defendant reports to
serve a sentence.

Declarations

Ownership of the Property. 1, the defendant — and each surety — declare under penalty of perjury that:

(1) all owners of the property securing this appearance bond are included on the bond;
(2) the property is not subject to claims, except as described above; and
(3) | will not sell the property, allow further claims to be made against it, or do anything to reduce its value

while this appearance bond is in effect.

Acceptance. 1, the defendant — and each surety — have read this appearance bond and have either read all the conditions
of release set by the court or had them explained to me. I agree to this Appearance Bond.

1, the defendant — and each surety — declare under penalty of perjury that this information is true. (See 28 U.S.C. § 1746.)

Date: 03/17/2021 x< we A Vf ee
— — \

Defendany’s signature

— Cool’. ‘te (D> a

Surety/property owner — printed name

  

Surety/property owner — signature and date

 

 

 

Surety/property owner — printed name Surety/property owner — signature and date
Surety/property owner — printed name Surety’property owner — signature and date
CLERK OF COURT

Date: _ 03/17/2021 CU Coats C Cony

 

Signature of Clerk or Deputy Clerk

Approved.

/ Judge ‘shignature A

 
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AO 199A (Rev. 06/19) Order Setting Conditions of Release Page | of 3 Pages

 

 

UNITED STATES DISTRICT COURT

for the

District of Columbia

United States of America
Vv.

Clifford Mackrell Case No. 21-mj-316

~—

Defendant

ORDER SETTING CONDITIONS OF RELEASE

IT IS ORDERED that the defendant’s release is subject to these conditions:

(1)
(2)

(3)

(4)

The defendant must not violate federal, state, or local law while on release.
The defendant must cooperate in the collection of a DNA sample if it is authorized by 34 U.S.C. § 40702.

The defendant must advise the court or the pretrial services office or supervising officer in writing before making
any change of residence or telephone number,

The defendant must appear in court as required and, if convicted, must surrender as directed to serve a sentence that

the court may impose.

The defendant must appear at: U.S. District Court for the District of Columbia, 333 Constitution Ave NW, WDC
Place

before Magistrate Judge G. Michael Harvey

 

ai 4/7/2021 1:00 pm

Date and Time

[f blank, defendant will be notified of next appearance.

The defendant must sign an Appearance Bond, if ordered.
CASRst 4 12ECQQREZ7 EFEKKD WHEE ELS] FdaDsvayel PRgESbPR42

AO 199B (Rev. 12/11) Additional Conditions of Release Page 2 of 3 Pages

ADDITIONAL CONDITIONS OF RELEASE

IT IS FURTHER ORDERED that the defendant’s release is subject to the conditions marked below:

( ) (6)

The defendant is placed in the custody of:
Person or organization
Address fonly if above is an organization)

City and state Tel. No.

 

 

 

who agrees to (a) supervise the defendant, (b) use every effort to assure the defendant’s appearance at all court proceedings, and (c) notify the court immediately
if the defendant violates a condition of release or is no longer in the custodian’s custody.

(X) (7)
(*)

Signed:

 

Custodian Date

The defendant must:

(a)
{b)
(c)
(d)
(e)
(f)

(g)
(h)
(i)
G)
(k)

(1)
(m)

(n)

(0)

(p)

(q)

(1)

submit to supervision by and report for supervision to the Courtesy Supervision by ND of Ohio
telephone number (202) 442-1000. no later than
continue or actively seek employment.

continue or start an education program.

surrender any passport to:

not obtain a passport or other international travel document.

abide by the following restrictions on personal association, residence, or travel: Live at Lorain Ohio 44052

‘_

 

 

 

 

avoid all contact, directly or indirectly, with any person who is or may be a victim or witness in the investigation or prosecution,
including:

 

 

get medical or psychiatric treatment:

 

 

return to custody each at ___ o’clock after being released at o'clock for employment, schooling,
or the following purposes:

 

 

maintain residence at a halfway house or community corrections center, as the pretrial services office or supervising officer considers
necessary.

not possess a firearm, destructive device, or other weapon.

not use alcohol ( ) at all ( ) excessively.

not use or unlawfully possess a narcotic drug or other controlled substances defined in 21 U.S.C. § 802, unless prescribed by a licensed
medical practitioner.

submit to testing for a prohibited substance if required by the pretrial services office or supervising officer. Testing may be used with random
frequency and may include urine testing, the wearing of a sweat patch, a remote alcohol testing system, and/or any form of prohibited
substance screening or testing. The defendant must not obstruct, attempt to obstruct, or tamper with the efficiency and accuracy of prohibited
substance screening or testing.

participate in a program of inpatient or outpatient substance abuse therapy and counseling if directed by the pretrial services office or

supervising officer.

participate in one of the following location restriction programs and comply with its requirements as directed.

( ) (Gi) Curfew. You are restricted to your residence every day ( ) from to i or ) as
directed by the pretrial services office or supervising officer; or

( ) Gi) Home Detention. You are restricted to your residence at all times except for employment; education: religious services; medical,
substance abuse, or mental health treatment; attorney visits; court appearances; court-ordered obligations; or other activities
approved in advance by the pretrial services office or supervising officer; or

( ) (ii) Home Incarceration. You are restricted to 24-hour-a-day lock-down at your residence except for medical necessities and
court appearances or other activities specifically approved by the court.

submit to location monitoring as directed by the pretrial services office or supervising officer and comply with all of the program

requirements and instructions provided.

(  ) You must pay all or part of the cost of the program based on your ability to pay as determined by the pretrial services office or

supervising officer.

report as soon as possible, to the pretrial services office or supervising officer, every contact with law enforcement personnel, including
arrests, questioning, or traffic stops.

Stay out of DC except for Court, PSA business or to meet with Counsel. Notify PSA in advance of travel outside _
the Northern District of Ohio. Court to approve all travel outside the Continental United States. GPS Monitoring.

 
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AO 199C (Rev. 09/08) Advice of Penalties Page 3 of 3 Pages
ADVICE OF PENALTIES AND SANCTIONS

 

TO THE DEFENDANT:
YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:

Violating any of the foregoing conditions of release may result in the immediate issuance of a warrant for your arrest, a
revocation of your release, an order of detention, a forfeiture of any bond, and a prosecution for contempt of court and could result in
imprisonment, a fine, or both.

While on release, if you commit a federal felony offense the punishment is an additional prison term of not more than ten years
and for a federal misdemeanor offense the punishment is an additional prison term of not more than one year. This sentence will be
consecutive (i.e., in addition to) to any other sentence you receive.

It is a crime punishable by up to ten years in prison, and a $250,000 fine, or both, to: obstruct a criminal investigation;
tamper with a witness, victim, or informant; retaliate or attempt to retaliate against a witness, victim, or informant; or intimidate or attempt
to intimidate a witness, victim, juror, informant, or officer of the court. The penalties for tampering, retaliation, or intimidation are
significantly more serious if they involve a killing or attempted killing.

If, after release, you knowingly fail to appear as the conditions of release require, or to surrender to serve a sentence,
you may be prosecuted for failing to appear or surrender and additional punishment may be imposed. If you are convicted of:

(1) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more — you will be fined

not more than $250,000 or imprisoned for not more than 10 years, or both;

(2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years — you will be fined not

more than $250,000 or imprisoned for not more than five years, or both;

(3) any other felony — you will be fined not more than $250,000 or imprisoned not more than two years, or both;

(4) amisdemeanor— you will be fined not more than $100,000 or imprisoned not more than one year, or both.

A term of imprisonment imposed for failure to appear or surrender will be consecutive to any other sentence you receive. In
addition, a failure to appear or surrender may result in the forfeiture of any bond posted.

Acknowledgment of the Defendant

[acknowledge that I am the defendant in this case and that I am aware of the conditions of release. I promise to obey all conditions
of release, to appear as directed, and surrender to serve any sentence imposed. I am aware of the penalties and sanctions set forth above.

acknowledged on the record

 

Defendant's Signature

 

City and State

Directions to the United States Marshal

( ) The defendant is ORDERED released after processing.

(_) The United States marshal is ORDERED to keep the defendant in custody until notified by the clerk or judge that the defendant
has posted bond and/or complied with all other conditions for release. If still in custody, the defendant must be produced before

the appropriate judge at the time and place specified.

Hts 2021.03.24

Date: March 24, 2021 11:14:45 -04'00'

 

 

Judicial Officer's Signature

Zia M. Faruqui, U.S. Magistrate Judge

 

Printed name and title

DISTRIBUTION: COURT DEFENDANT PRETRIAL SERVICE U.S.ATTORNEY — U.S. MARSHAL
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AO 199A (Rev. 06/19) Order Setting Conditions of Release Page | of 3 Pages

 

 

UNITED STATES DISTRICT COURT

tor the

District of Columbia

United States of America
Vv.
Case No, 21-MJ-211 (ZMF)
David Alan Blair
Defendant

ORDER SETTING CONDITIONS OF RELEASE

ee eee

IT IS ORDERED that the detendant’s release is subject to these conditions:

(1)
(2)

(3)

(4)

(5)

The defendant must not violate federal, state, or local law while on release.
The defendant must cooperate in the collection of a DNA sample if it is authorized by 34 U.S.C. § 40702.

The defendant must advise the court or the pretrial services office or supervising officer in writing before making
any change of residence or telephone number.

The defendant must appear in court as required and, if convicted, must surrender as directed to serve a sentence that
the court may impose.

The defendant must appear at: U.S. District Court for the District of Columbia, 333 Constitution Ave NW, WDC

Place

Magistrate Judge Zia M. Faruqui. The hearing will be conducted virtually; call-in instructions will be provided.

on 3/10/2021 1:00 pm

Date and Time

If blank, defendant will be notified of next appearance.

The defendant must sign an Appearance Bond, if ordered.
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AO 199B (Rev. 12/11) Additional Conditions of Release Page 2 of 3 Pages

 

 

ADDITIONAL CONDITIONS OF RELEASE
IT IS FURTHER ORDERED that the defendant's release is subject to the conditions marked below:

( ) (6) The defendant is placed in the custody of:

Person or organization

Address (only ifubove is an organization) -

City and state 7 Tel. No,
who agrees to (a) supervise the defendant, (b) use every effort to assure the defendant's appearance at all court proceedings, and (c) notify the court immediately
ifthe defendant violates a condition of release or is no longer in the custodian’s custody.

Signed:
Custodian Date
(>) (7) The defendant must:
( X ) (a) submit to supervision by and report for supervision to the Pretrial Services weekly via telephone
telephone number (202) 442-1 O00 . no later than

 

 

 

( ) (b) continue or actively seek employment.

( ) (c) continue or start an education program.

( ) (d) surrender any passport Lo: _ _ _

( ) (e) not obtain a passport or other international travel document.

( x } (f abide by the following restrictions on personal association, residence, or travel: Notify PSA of all travel outside of Maryland.
Court must approve travel outside continental U.S. See "s" below for additional travel restrictions.

( ) (g) avoid all contact, directly or indirectly, with any person who is or may be a victim or witness in the investigation or prosecution,
including: ee ee _ -

{ ) (h) get medical or psychiatric treatment: a ee

{ ) (i) return to custody each at so ellock after being released at o'clock tor employment, schooling,
or the following purposes: _

{ ) () maintain residence at a halfway house or community corrections center, as the pretrial services office or supervising officer considers
necessary.

{ * ) (k) not possess a firearm, destructive device, or other weapon.

{ } () not use alcohol ( yatall ( ) excessively.

( ) (m) not use or unlawfully possess a narcotic drug or other controlled substances defined in 21 U.S.C. § 802, unless prescribed by a licensed
medical practitioner.

{ ) (n) submit to testing fora prohibited substance if required by the pretrial services office or supervising officer. Testing may be used with random

frequency and may include urine testing. the wearing of a sweat patch, a remote alcohol testing system, and/or any form of prohibited
substance screening or testing. The defendant must not obstruct, attempt to obstruct, or tamper with the efficiency and accuracy of prohibited
substance screening or testing.

{ ) (©) participate in a program of inpatient or outpatient substance abuse therapy and counseling if directed by the pretrial services office or
supervising officer.

( ) (p) participate in one of the following location restriction programs and comply with its requirements as directed.
( ) G@) Curfew. You are restricted to your residence every day ( ) from to .or ( yas

directed by the pretrial services office or supervising officer; or

( ) (ii) Home Detention. You are restricted to your residence at all times except for employment; education: religious services; medical,
substance abuse, or mental health treatment; attorney visits; court appearances: court-ordered obligations; or other activities
approved in advance by the pretrial services office or supervising officer: or

( (it) Home Incarceration, You are restricted to 24-hour-a-day lock-down at your residence except for medical necessities and
court appearances or other activities specifically approved by the court.

( ) (q) submit to location monitoring as directed by the pretrial services office or supervising officer and comply with all of the program
requirements and instructions provided.
( ) You must pay all or part of the cost of the program based on your ability to pay as determined by the pretrial services office or
supervising officer,

( ) (r) report as soon as possible, to the pretrial services office or supervising officer, every contact with law enforcement personnel, including
arrests. questioning, or traffic stops. ;
( X ) (s) Stay away from Washington, DC except for court, meetings with attorney or PSA. Verify address with PSA.

Surrender any remaining firearms to local authorities and submit receipt to PSA.
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AO 199C (Rev. 09/08) Advice of Penalties Page 3 of 3 Pages

 

ADVICE OF PENALTIES AND SANCTIONS
TO THE DEFENDANT:
YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:

Violating any of the foregoing conditions of release may result in the immediate issuance of a warrant for your arrest, a
revocation of your release, an order of detention, a forfeiture of any bond, and a prosecution for contempt of court and could result in
imprisonment, a fine, or both.

While on release, if you commit a federal felony offense the punishment is an additional prison term of not more than ten years
and for a federal misdemeanor offense the punishment is an additional prison term of not more than one vear. This sentence will be
consecutive (7.e., in addition to) to any other sentence you receive.

It is a crime punishable by up to ten years in prison, and a $250,000 fine, or both, to: obstruct a criminal investigation:
tamper with a witness, victim, or informant; retaliate or attempt to retaliate against a witness, victim, or informant; or intimidate or attempt
to intimidate a witness, victim, juror, informant, or officer of the court. The penalties for tampering. retaliation. or intimidation are
significantly more serious if they involve a killing or attempted killing.

lf, after release, you knowingly fail to appear as the conditions of release require, or to surrender to serve a sentence,
you may be prosecuted for failing to appear or surrender and additional punishment may be imposed. If you are convicted of:

(1) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more — you will be fined

not more than $250,000 or imprisoned for not more than 10 years, or both;

(2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years — you will be fined not

more than $250.000 or imprisoned for not more than five years, or both:

(3) any other felony — you will be fined not more than $250,000 or imprisoned not more than two years, or both:

(4) amisdemeanor— you will be fined not more than $100,000 or imprisoned not more than one year, or both.

A term of imprisonment imposed for failure to appear or surrender will be consecutive to any other sentence you receive. In
addition, a failure to appear or surrender may result in the forfeiture of any bond posted.

Acknowledgment of the Defendant

[acknowledge that [am the defendant in this case and that | am aware of the conditions of release, I promise to obey all conditions
of release, to appear as directed, and surrender to serve any sentence imposed. | am aware of the penalties and sanctions set forth above.

Acknowledged and Sworn on the Record on February 17, 2021.

 

Defendant's Signature

City and State

Directions to the United States Marshal

(xx) The defendant is ORDERED released after processing.

¢ _) The United States marshal is ORDERED to keep the defendant in custody until notified by the clerk or judge that the defendant
has posted bond and/or complied with all other conditions for release. If still in custody, the defendant must be produced before

the appropriate judge at the time and place specified,
Robin M. Meriweather
J “fol ~ Hes 2021.02.22 23:07:10 -05'00'

 

Date: February 17.2021 mune pro tune

Judicial Officer's Stgnature
Magistrate Judge Robin Meriweather

Printed name and title

DISTRIBUTION: COURT DEFENDANT PRETRIAL SERVICE US. ATTORNEY US. MARSHAL
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AO 199A (Rev. 12:11) Order Setting Conditions of Release Page | of — 3 Pages

 

UNITED STATES DISTRICT COURT

for the

District of Columbia

United States of America

Vv.
Bruno Cua Case No, 21-cr-107

eee ee

Defendant

ORDER SETTING CONDITIONS OF RELEASE
IT IS ORDERED that the defendant’s release is subject to these conditions:
(1) The defendant must not violate federal, state, or local law while on release.
(2) The detendant must cooperate in the collection of a DNA sample if it is authorized by 42 U.S.C. § 14135a.

(3) The defendant must advise the court or the pretrial services office or supervising officer in writing before making
any change of residence or telephone number.

(4) The defendant must appear in court as required and, if convicted, must surrender as directed to serve a sentence that
the court may impose.

The defendant must appear at: at all court hearings or matters at a time, place, and manner as directed by the
Place

Court.

on

 

Date and Time

(5) The defendant must sign an Appearance Bond, if ordered.
AO 199B (Rev. 12

Cased 2>LICPBAO7ARD MPI HS FRA FAQ WRiA2
11) Additional Conditions of Release Page 2 of 3. Pages

ADDITIONAL CONDITIONS OF RELEASE

IT IS FURTHER ORDERED that the defendant's release is subject to the conditions marked below:

(*) (6) The defendant is placed in the custody of:
Person or organization Dr. Alise Cua (Defendant's mother)
Address (only if above is an organization)

City and state Tel. No.

who agrees to (a) supervise the defendant, (b) use every effort to assure the defendant's appearance at all court proceedings. and (c} notify the court immediately
if the defendant violates a condition of release or is no longer in the custodian’s custody.

Signed: Acknowledged on the record 03/09/2021

Custodian Date

(&) (7) The defendant must:

( XX) (a)

(b)
(c)
(d)
(e)
(f)

ES EN EN EE
xX

( ) (g

( ) (h)

) (k)
(1)
) (m)

x xX xX

( X ) (n)

( * ) (p)

( * ) (q)

(xX) (rn

{ * ) (s)

submit to supervision by and report for supervision to the US Probation NDGA as directed _
telephone number — (404) 215-1950 . no later than |mmediately upon Return to Georgia but in no event later than

continue or actively seek employment. 03/17/2021
continue or start an education program.
surrender any passport to: US Probation Office for the Northern District of Georgia

 

not obtain a passport or other international travel document.

abide by the following restrictions on personal association, residence, or travel: Stay out of Washington DC except for
Court or PSA business or meetings with attorney. Travel Restricted to Fulton County, GA. -

avoid all contact, directly or indirectly, with any person who is or may be a victim or witness in the investigation or prosecution,
including:

 

 

get medical or psychiatric treatment:

 

return to custody each - at o'clock after being released at __ o'clock for employment, schooling,
or the following purposes:

 

 

maintain residence at a halfway house or community corrections center, as the pretrial services office or supervising officer considers

necessary.

not possess a firearm, destructive device, or other weapon.

not use alcohol (| Xj) at all { ) excessively.

not use or unlawfully possess a narcotic drug or other controlled substances detined in 21 U.S.C. § 802. unless prescribed by a licensed

medical practitioner.

submit to testing for a prohibited substance if required by the pretrial services office or supervising officer. Testing may be used with random

frequency and may include urine testing, the wearing of a sweat patch, a remote alcohol testing system, and/or any form of prohibited

substance screening or testing. The defendant must not obstruct, attempt to obstruct, or tamper with the efficiency and accuracy of prohibited

substance screening or testing.

participate in a program of inpatient or outpatient substance abuse therapy and counseling if directed by the pretrial services office or

supervising officer.

participate in one of the following location restriction programs and comply with its requirements as directed.

( ) Gi) Curfew, You are restricted to your residence every day ( ) from _ to or | )as
directed by the pretrial services office or supervising officer; or

( X ) (il) Home Detention. You are restricted to your residence at all times except for employment; education; religious services; medical,
substance abuse, or mental health treatment; attorney visits; court appearances: court-ordered obligations: or other activities
approved in advance by the pretrial services office or supervising officer; or

( —_)(iii) Home Incarceration. You are restricted to 24-hour-a-day lock-down at your residence except for medical necessities and
court appearances or other activities specifically approved by the court.

submit to location monitoring as directed by the pretrial services office or supervising officer and comply with all of the program

requirements and instructions provided.

( * ) You must pay all or part of the cost of the program based on your ability to pay as determined by the pretrial services office or

supervising officer.

report as soon as possible, to the pretrial services office or supervising officer, every contact with law enforcement personnel, ineluding

arrests, questioning, or traffic stops.

Comply with any and all conditions as directed in the supervising jurisdiction. Deft is not restricted from his _

home's curtilage and surrounding 3 acre property, but must always be under supervision of 3rd party custodian.

 

Defendant may not use any social media--including, but not limited to, Parler, Gab, Reddit. Facebook. Instagram. Discord, Twitter,
SnapChat, TikTok, and any similar platform--on any electronic device (e.g, phone, table, computer, laptop). Defendant must permit ND
Ga Probation Office to monitor his compliance with this condition,
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AO 199C (Rev. 09/08) Advice of Penalties Page 3 of 3 Pages

ADVICE OF PENALTIES AND SANCTIONS

 

TO THE DEFENDANT:
YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:

Violating any of the foregoing conditions of release may result in the immediate issuance of a warrant for your arrest, a
revocation of your release, an order of detention, a forfeiture of any bond, and a prosecution for contempt of court and could result in
imprisonment, a fine, or both.

While on release, if you commit a federal felony offense the punishment is an additional prison term of not more than ten years
and for a federal misdemeanor offense the punishment is an additional prison term of not more than one year. This sentence will be
consecutive (Ze., in addition to) to any other sentence you receive,

It is a crime punishable by up to ten years in prison, and a $250,000 fine, or both, to: obstruct a criminal investigation:
tamper with a witness, victim, or informant; retaliate or attempt to retaliate against a witness, victim, or informant; or intimidate or attempt
to intimidate a witness, victim, juror, informant, or officer of the court. The penalties for tampering, retaliation, or intimidation are
significantly more serious if they involve a killing or attempted killing.

If, after release, you knowingly fail to appear as the conditions of release require, or to surrender to serve a sentence.
you may be prosecuted for failing to appear or surrender and additional punishment may be imposed. If you are convicted of:

(1) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more — you will be fined

not more than $250,000 or imprisoned for not more than 10 years. or both;

(2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years — you will be fined not

more than $250,000 or imprisoned for not more than five years, or both:

(3) any other felony — you will be fined not more than $250,000 or imprisoned not more than two years, or both;

(4) a misdemeanor — you will be fined not more than $100,000 or imprisoned not more than one year, or both.

A term of imprisonment imposed for failure to appear or surrender will be consecutive to any other sentence you receive. In
addition, a failure to appear or surrender may result in the forfeiture of any bond posted.

Acknowledgment of the Defendant

T acknowledge that | am the defendant in this case and that | am aware of the conditions of release. | promise to obey all conditions
of release, to appear as directed, and surrender to serve any sentence imposed. | am aware of the penalties and sanctions set forth above.

 

Defendant's Signature
City and State

Directions to the United States Marshal

(  ) The defendant is ORDERED released after processing.
( ) Ths United States marshal i is ORDERED to Keep the defendant 1 in me until notified by the clerk or judge that the detendant

the appropriate judge at the time and ‘d place specified.

Date: 3/10/2021

 

Randolph D. Moss, United States District Judge

Printed name and title

DISTRIBUTION: © COURT DEFENDANT PRETRIAL SERVICE U.S. ATTORNEY U.S. MARSHAL
Casacear-O088zoRDPOPMRaMER as Filed 04/28/21 Page 1d 42

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

UNITED STATES OF AMERICA,

Criminal Action No. 21-107 (RDM)
BURNO JOSEPH CUA,

Defendant.

 

 

ORDER

This matter is before the Court on Defendant Bruno Joseph Cua’s Motion to Clarify the
Conditions of his Release. Dkt. 31. For the following reasons, the Court will GRANT in part
and DENY in part Cua’s motion.

In his motion, Cua first asks that the “Court’s Order Setting Conditions of Release .. .
[be] clarified to confirm that [] Cua is permitted to leave his home’s property for employment
purposes, subject to the other conditions of release specified therein and the supervision of the
Pretrial Services Office.” Dkt. 31-1 at |. The Court will deny this request as moot. The Court’s
order already provides that Cua is “restricted to [his] residence at all times except for
employment; education; religious services; medical, substance abuse, or mental health treatment;
attorney visits; court appearances; court-ordered obligations; or other activities approved in
advance by the pretrial services office or supervising officer.” Dkt. 25-1 at 3 (emphasis added).
It is true that Cua is not obligated to adhere to Condition 7(b); but that Condition requires Cua to
“continue or [to] actively seek employment,” and thus has no relevance to Condition 7(p)(ii),

which, instead, permits Cua to leave his house for employment-related matters. /d.
Cagadé2iar-ONaezorARDMoEmeanich-34 Filed 04/29/21 Page A2ph 42

Cua also asks the Court to modify the terms of his release to clarify that Dr. Cua “is not
required to remain with [Cua] during [any] work” that Cua engages in outside the home. Dkt.
31-1 at 1. The Court will grant this request, subject to the following: should Cua engage in any
employment outside his home, he must be supervised by an adult who shall complete, sign, and
provide to Cua’s counsel Attachment A, attesting under penalty of perjury to Cua’s compliance
with the conditions of his pretrial release. Such attestations shall be filed by Cua’s counsel with
the Court within two days of the completion of each week during which Cua was employed by
any such individual outside Cua’s home.

CONCLUSION

For the foregoing reasons, Defendant Bruno Joseph Cua’s Motion to Clarify the
Conditions of his Release, Dkt. 31, is GRANTED in part and DENIED in part; and it is further

ORDERED that the Dr. Cua is not required to remain with Cua during any work that
Cua engages in outside the home, to the extent that (1) Cua is supervised by an adult who shall
complete, sign, and provide to Cua’s counsel Attachment A, attesting under penalty of perjury to
Cua’s compliance with the conditions of his pretrial release; and (2) any such attestations shall
be filed by Cua’s counsel with the Court within two days of the completion of each week during
which Cua was employed by any individual outside Cua’s home.

SO ORDERED.

/s/ Randolph D. Moss
RANDOLPH D. MOSS

United States District Judge
Date: April 12, 2021
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AO 98 (Rev. 12 11) Appearance Bond

 

UNITED STATES DISTRICT COURT

tor the
District of Columbia
United States of America

Vv.
Mark Leffingwell

)
)
) Case No. 21-MJ-7
)
Defendant )

APPEARANCE BOND

Defendant’s Agreement

L, - ______ Mark Leffingwell (defendant), agree to follow every order of this court, or any
court that considers this case, and I further agree that this bond may be forfeited if I fail:

( X ) to appear for court proceedings;

( xX) if convicted, to surrender to serve a sentence that the court may impose; or

(x ) to comply with all conditions set forth in the Order Setting Conditions of Release.

 

Type of Bond

( X ) (1) This is a personal recognizance bond.

( ) (2) This is an unsecured bond of $ —
( ) (3) Thisisasecured bondof$ ee , secured by:
( ) (a) S , In cash deposited with the court.
( ) (b) the agreement of the defendant and each surety to forfeit the following cash or other property

(describe the cash or other property, including claims on it — such as a lien, mortgage, or loan — and attach proof of

ownership and value):

If this bond is secured by real property, documents to protect the secured interest may be filed of record.

( ) (c) a bail bond with a solvent surety (attach a copy of the bail bond, or describe it and identify the surety):

Forfeiture or Release of the Bond

Forfeiture of the Bond. This appearance bond may be forfeited if the defendant does not comply with the above
agreement. The court may immediately order the amount of the bond surrendered to the United States, including the
security for the bond, if the defendant does not comply with the agreement. At the request of the United States, the court
may order a judgment of forfeiture against the defendant and each surety for the entire amount of the bond, including
interest and costs.
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Page 2

AO 98 (Rev. 12-11) Appearance Bond

 

Release of the Bond. The court may order this appearance bond ended at any time. This bond will be satistied and the
security will be released when either: (1) the defendant is found not guilty on all charges, or (2) the defendant reports to
serve a sentence.

Declarations

Ownership of the Property. \, the detendant — and each surety — declare under penalty of perjury that:

(1) all owners of the property securing this appearance bond are included on the bond;
(2) the property 1s not subject to claims, except as described above; and
(3) I will not sell the property, allow further claims to be made against it, or do anything to reduce its value

while this appearance bond is in effect.

Acceptance. |, the defendant — and each surety — have read this appearance bond and have either read all the conditions
of release set by the court or had them explained to me. I agree to this Appearance Bond.

I, the defendant — and each surety — declare under penalty of perjury that this information is true. (See 28 U.S.C. § 1746.)

Date: unable to sign due to pandemic

Defendant's signature

 

Suretyproperty owner — printed name

Surety/property owner — signature and date

Surety property owner — printed name Surety/property owner — signature and date

 

Surety property owner — printed name Surety/property owner — signature and date

CLERK OF COURT

sys Digitally signed
Phi lip Tran by Philip Tran

Date: 01/08/2021

Signature of Clerk or Deputy Clerk

| os Digitally
Approved. (Able ey signed by G.
Date: 01/08/2021 _—— Michael Harvey

Judge's signature
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AO 1994 (Rev. 06/19) Order Setting Conditions of Release Page | of 3 Pages

 

UNITED STATES DISTRICT COURT

for the

District of Columbia

United States of America
Vv.

)

)
Matthew Capsel ) Case No. 21-mj-122
)
)

Defendant

ORDER SETTING CONDITIONS OF RELEASE

IT IS ORDERED that the defendant’s release is subject to these conditions:

(1)

(5)

The detendant must not violate federal, state, or local law while on release.
The defendant must cooperate in the collection of a DNA sample if it is authorized by 34 U.S.C. § 40702.

The detendant must advise the court or the pretrial services office or supervising officer in writing before making
any change of residence or telephone number.

The defendant must appear in court as required and, if convicted, must surrender as directed to serve a sentence that

the court may impose.

The defendant must appear at: U.S. District Court for the District of Columbia, 333 Constitution Ave NW, WDC
Place

Preliminary Hearing before Magistrate Judge Zia M. Faruqui by telephonic/VTC

 

 

 

on 6/4/2021 10:30 am

Date and Time

If blank, defendant will be notified of next appearance.

The defendant must sign an Appearance Bond, if ordered.
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AO 199B (Rev. 12/11) Additional Conditions of Release Page 2? of 3 Pages

ADDITIONAL CONDITIONS OF RELEASE

 

IT [S FURTHER ORDERED that the defendant’s release is subject to the conditions marked below:

( ) (6) The defendant is placed in the custody of:

Person or organization __

Address fonly ifabove is an organization) ; _

City and state 7 a Tel. No.
who agrees to (a) supervise the defendant, (b) use every effort to assure the defendant's appearance at all court proceedings, and (c) notify the court immediately
if the defendant violates a condition of release or is no longer in the custodian’s custody.

Signed: ee 7
Custodian Date
(%*) (7) The defendant must:
( X ) (a) submit to supervision by and report for supervision to the Pretrial Services in the N. Dist. of Illinois”
telephone number no later than
(b) continue or actively seek employment.

(c) continue or start an education program.

(e) not obtain a passport or other international travel document.

(f) abide by the following restrictions on personal association, residence, or travel: Travel and Hotel Stays authorized w/work.
Stay out of DC except for Court or PSA business. Court to approve travel outside the Continental US.

{ X ) (g) avoid all contact, directly or indirectly, with any person who is or may be a victim er witness in the investigation or prosecution,

including:

)
)
) (d) surrender any passport to:
)
)

 

 

( X ) (h) get medical or psychiatric treatment: Participate in available mental health,psychological and/or psychiatric evaluation
or treatment as deemed necessary; pay all or part of the program's cost based on your ability to pay.

( ) (i) return to custody each / at o'clock after being released at _o’clock for employment, schooling,
or the following purposes:

( ) Qj) maintain residence at a halfway house or community corrections center, as the pretrial services office or supervising officer considers
necessary.

( *% ) (k) not possess a firearm, destructive device, or other weapon.

( ) (D) not use alcohol ( at all ( ) excessively.

( X ) (m) notuse or unlawfully possess a narcotic drug or other controlled substances defined in 21 U.S.C. § 802, unless prescribed by a licensed

medical practitioner,

{ X ) (n) submitto testing fora prohibited substance if required by the pretrial services office or supervising officer. Testing may be used with random
frequency and may include urine testing, the wearing of a sweat patch, a remote alcohol testing system, and/or any form of prohibited
substance screening or testing. The defendant must not obstruct, attempt to obstruct, or tamper with the efficiency and accuracy of prohibited
substance screening or testing.

( X } (0) participate in a program of inpatient or outpatient substance abuse therapy and counseling if directed by the pretrial services office or
supervising officer.

( * }) (p) participate in one of the following location restriction programs and comply with its requirements as directed.

{(X ) (i) Curfew. You are restricted to your residence every day( x ) from 10:00pm tw 6:00 am_ .or ¢ yas
directed by the pretrial services office or supervising officer; or

( ) Gi) Home Detention. Youare restricted to your residence at all times except for employment; education; religious services: medical,
substance abuse, or mental health treatment; attorney visits; court appearances; court-ordered obligations: or other activities
approved in advance by the pretrial services office or supervising officer; or

{ )(ii) Home Incarceration. You are restricted to 24-hour-a-day lock-down at your residence except for medical necessities and
court appearances or other activities specifically approved by the court.

( } {q) submit to location monitoring as directed by the pretrial services office or supervising officer and comply with all of the program
requirements and instructions provided.

( ) You must pay all or part of the cost of the program based on your ability to pay as determined by the pretrial services office or
supervising officer.

{ X } (r) reportas soon as possible, to the pretrial services office or supervising officer, every contact with law enforcement personnel, including
arrests, questioning, or traffic stops.

( X ) (s) Notify Pretrial Services in N.D. Illinois 48hrs in advance of travel for work.Notify Pretrial Services when he leaves
and returns from work travel.No travel outside the St. of Illinois. Reside with mother when not traveling for work

Defendant must notify Pretrial Services within 24 hours after returning from work travel.
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AO 199C (Rev. 09/08) Advice of Penalties Page 3 of 3 Pages

ADVICE OF PENALTIES AND SANCTIONS

 

TO THE DEFENDANT:
YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:

Violating any of the foregoing conditions of release may result in the immediate issuance of a warrant for your arrest, a
revocation of your release. an order of detention, a forfeiture of any bond, and a prosecution for contempt of court and could result in
unprisonment, a fine, or both.

While on release, if you commit a federal felony offense the punishment is an additional prison term of not more than ten years
and for a federal misdemeanor offense the punishment is an additional prison term of not more than one year. This sentence will be
consecutive (/.¢., in addition to) to any other sentence you receive.

It is a crime punishable by up to ten years in prison, and a $250,000 fine, or both, to: obstruct a criminal investigation;
tamper with a witness, victim, or informant; retaliate or attempt to retaliate against a witness, victim, or informant: or intimidate or attempt
to intimidate a witness, victim, juror, informant, or officer of the court. The penalties for tampering. retaliation. or intimidation are
significantly more serious if they involve a killing or attempted killing.

If, after release, you knowingly fail to appear as the conditions of release require, or to surrender to serve a sentence,
you may be prosecuted for failing to appear or surrender and additional punishment may be imposed. If vou are convicted of:

(1) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more — you will be fined

not more than $250,000 or imprisoned for not more than 10 years, or both;

(2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years — you will be fined not

more than $250,000 or imprisoned for not more than five years, or both:

(3) any other felony — you will be fined not more than $250,000 or imprisoned not more than two years. or both:

{4) a misdemeanor — you will be fined not more than $100,000 or imprisoned not more than one year, or both.

A term of imprisonment imposed for failure to appear or surrender will be consecutive to any other sentence you receive. In
addition, a failure to appear or surrender may result in the forfeiture of any bond posted.

Acknowledgment of the Defendant

1 acknowledge that | am the defendant in this case and that [am aware of the conditions of release. | promise to obey all conditions
of release, to appear as directed, and surrender to serve any sentence imposed. I am aware of the penalties and sanctions set forth above.

acknowledged on the record

Defendant's Signature

Cuv and State

Directions to the United States Marshal

(xx) The defendant is ORDERED released after processing.

(_) The United States marshal is ORDERED to keep the defendant in custody until notified by the clerk or judge that the defendant
has posted bond and/or complied with all other conditions for release. If still in custody, the defendant must be produced before

the appropriate judge at the time and place specified.

Date: 4/16/2021 fe

Judicial Officer's Signature

Robin M. Meriweather, U.S. Magistrate Judge

Printed name ane title

DISTRIBUTION: = COURT DEFENDANT PRETRIAL SERVICE US ATTORNEY US) MARSHAL
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AO 98 (Rev. 12/11) Appearance Bond

UNITED STATES DISTRICT COURT

for the
District of Columbia

United States of America

Vv.
Gina Michelle Bisignano

)
)
) Case No. CR 21-036 (CJN)
)
)

Defendant
APPEARANCE BOND
Defendant’s Agreement
I, Gina Michelle Bisignano (defendant), agree to follow every order of this court, or any

court that considers this case, and I further agree that this bond may be forfeited if I fail:
( xX ) to appear for court proceedings;
( xX ) if convicted, to surrender to serve a sentence that the court may impose: or
(xX ) to comply with all conditions set forth in the Order Setting Conditions of Release.
Type of Bond

( X ) (1) This is a personal recognizance bond. / High Intensity Supervision Program

( ) (2) This is an unsecured bond of $ _
( ) (3) This is asecured bondof$ , secured by:
( y(ay$S , In cash deposited with the court.
( ) (b) the agreement of the defendant and each surety to forfeit the following cash or other property

(describe the cash or other property, including claims on it— such as a lien, mortgage, or loan — and attach proof of
ownership and value):

If this bond is secured by real property, documents to protect the secured interest may be filed of record.

( ) (c) a bail bond with a solvent surety (attach a copy of the bail bond, or describe it and identify the surety):

Forfeiture or Release of the Bond

Forfeiture of the Bond. This appearance bond may be forfeited if the defendant does not comply with the above
agreement. The court may immediately order the amount of the bond surrendered to the United States, including the
security for the bond, if the defendant does not comply with the agreement. At the request of the United States, the court
may order a judgment of forfeiture against the defendant and each surety for the entire amount of the bond, including
interest and costs.
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Page 2

AO 98 (Rev. 12/11) Appearance Bond

 

Release of the Bond. The court may order this appearance bond ended at any time. This bond will be satisfied and the
security will be released when either: (1) the defendant is found not guilty on all charges, or (2) the defendant reports to
serve a sentence.

Declarations

Ownership of the Property. 1, the defendant — and each surety — declare under penalty of perjury that:

(1) all owners of the property securing this appearance bond are included on the bond;
(2) the property is not subject to claims, except as described above; and
(3) [ will not sell the property, allow further claims to be made against it, or do anything to reduce its value

while this appearance bond is in effect.

Acceptance. I, the defendant — and each surety — have read this appearance bond and have either read all the conditions
of release set by the court or had them explained to me. [ agree to this Appearance Bond.

I, the defendant — and each surety — declare under penalty of perjury that this information is true. (See 28 U.S.C. § 1746.)

Acknowledged on the Record
Date: 02/26/2021

Defendant's signature

Surety property owner — printed name

Surety property owner — printed name

 

Surety property awner — printed name

Date: 02/26/2021

Approved.

Date: 02/26/2021

Surety property owner — signature and date

Surety property owner — signature and date

Surety/property owner — signature and date

CLERK OF COURT

 

Cad

 

Jugfze’s signature
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AO 98 (Rev. 12/11) Appearance Bond

 

UNITED STATES DISTRICT COURT

for the

District of Columbia

United States of America )
Ni )
RMnGE Binnie ) Case No, 24-MJ-27 (1)

)
Defendant )

APPEARANCE BOND

Defendant’s Agreement

I, Hunter Ehmke (defendant), agree to follow every order of this court, or any

court that considers this case, and [ further agree that this bond may be forfeited if I fail:
( xX ) to appear for court proceedings;
(x ) if convicted, to surrender to serve a sentence that the court may impose: or
(x ) to comply with all conditions set forth in the Order Setting Conditions of Release.

Type of Bond

( * ) (Ll) This is a personal recognizance bond.

( ) (2) This is an unsecured bond of $ —
( ) (3) This is a secured bond of $ __, secured by:
( ) (as ss in cash deposited with the court.
( ) (b) the agreement of the defendant and each surety to forfeit the following cash or other property

(describe the cash or other property, including claims on it — such as a lien, mortgage, or loan — and attach proof of

ownership and value):

If this bond is secured by real property, documents to protect the secured interest may be filed of record.

( ) (c) a bail bond with a solvent surety attach a copy of the bail bond, or describe it and identify the surety):

Forfeiture or Release of the Bond

Forfeiture of the Bond. This appearance bond may be forfeited if the defendant does not comply with the above
agreement, The court may immediately order the amount of the bond surrendered to the United States, including the
security for the bond, if the defendant does not comply with the agreement. At the request of the United States, the court
may order a judgment of forfeiture against the defendant and each surety for the entire amount of the bond, including
interest and costs.
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Page 2

AO 98 (Rev. 12:11) Appearance Bond

 

Release of the Bond. The court may order this appearance bond ended at any time. This bond will be satisfied and the
security will be released when either: (1) the defendant is found not guilty on all charges, or (2) the defendant reports to
serve a sentence.

Declarations

Ownership of the Property. |, the defendant — and each surety — declare under penalty of perjury that:

(1) all owners of the property securing this appearance bond are included on the bond;
(2) the property is not subject to claims, except as described above; and
(3) I will not sell the property, allow further claims to be made against it, or do anything to reduce its value

while this appearance bond is in effect.

Acceptance. 1, the defendant — and each surety — have read this appearance bond and have either read all the conditions
of release set by the court or had them explained to me. [agree to this Appearance Bond.

I, the defendant — and each surety — declare under penalty of perjury that this information is true. (See 28 U.S.C. § 1746.)

Date: unable to sign due to pandemic

Defendant's signature

Surety property owner — printed name

Surety/property owner — signature and date

 

Suretvproperty owner — printed name Surety/property owner — signature and date

Suretyproperty owner — printed name

Surety/property owner — signature and date

CLERK OF COURT
Digitally signed

Philip Tran by Philip Tran

Date: 01/21/2021 . ~
Signature of Clerk or Deputy Clerk
Digitally
fie signed by G.
j Michael Harvey

Judge's signature

Approved. / it

Date: 01/21/2021
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AO 98 (Rev. 12-11) Appearance Bond

UNITED STATES DISTRICT COURT

for the

District of Columbia

United States of America )
Vv. )
Chad Barrett Jones \ Case No, 21-MJ-76 (1)
)
Defendant )
APPEARANCE BOND
Defendant’s Agreement
I, Chad Barrett Jones

— i (defendant), agree to follow every order of this court, or any
court that considers this case, and I further agree that this bond may be forfeited if I fail:

( X ) to appear for court proceedings;

( x ) if convicted, to surrender to serve a sentence that the court may impose; or
(xX ) to comply with all conditions set forth in the Order Setting Conditions of Release.

Type of Bond

( X ) (1) This is a personal recognizance bond.

( ) (2) This is an unsecured bond of $

( ) (3) This is a secured bond of $ ee , secured by:
( y(ayS , in cash deposited with the court.
( ) (b) the agreement of the defendant and each surety to forfeit the following cash or other property

(describe the cash or other property, including claims on it — such as a lien, mortgage, or loan — and attach proof of
ownership and value):

If this bond is secured by real property, documents to protect the secured interest may be filed of record.

( ) (c) a bail bond with a solvent surety fattach a copy of the bail bond, or describe it and identify the surety):

Forfeiture or Release of the Bond

Forfeiture of the Bond. This appearance bond may be forfeited if the defendant does not comply with the above
agreement. The court may immediately order the amount of the bond surrendered to the United States, including the
security for the bond, if the defendant does not comply with the agreement. At the request of the United States, the court

may order a judgment of forfeiture against the defendant and each surety for the entire amount of the bond, including
interest and costs.
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AO 98 (Rev. 12-11) Appearance Bond

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Release of the Bond, The court may order this appearance bond ended at any time. This bond will be satisfied and the
security will be released when either: (1) the defendant is found not guilty on all charges, or (2) the defendant reports to

serve a sentence.

Declarations

Ownership of the Property. 1, the defendant — and each surety — declare under penalty of perjury that:

(1) all owners of the property securing this appearance bond are included on the bond;
(2) the property is not subject to claims, except as described above; and
(3) I will not sell the property, allow further claims to be made against it, or do anything to reduce its value

while this appearance bond is in effect.

Acceptance. |, the defendant — and each surety — have read this appearance bond and have either read all the conditions
of release set by the court or had them explained to me. I agree to this Appearance Bond.

I, the defendant — and each surety — declare under penalty of perjury that this information is true. (See 28 U.S.C. § 1746.)

Date:

Suretyproperty owner — printed name

 

Surety/property owner — printed name

Surety property owner — printed name

Date: 01/28/2021

Approved,

Date: 01/28/2021

unable to sign due to pandemic

Defendant's signature
gi

Surety/property

Surety/property

Suretv/property

CLERK OF COURT

owner — signature and date

owner — signature and date

 

owner — signature and date

Philip Tran Digitally signed

Signature of Clerk or Deputy Clerk

by Philip Tran

 

Digitally

i i thi. signed by G.

Michael Harvey

Judge's signature
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AO 98 (Rev. 12-11) Appearance Bond

 

UNITED STATES DISTRICT COURT

for the

District of Columbia

United States of America )
on V. )
Vitali Gossjankowski ) Case No, 21-MJ-105 (1)

oe _ )
Defendant )

APPEARANCE BOND

Defendant’s Agreement

I, __ Vitali Gossjankowski (defendant), agree to follow every order of this court, or any

court that considers this ease, and I further agree that this bond may be forfeited if I fail:
( X ) to appear for court proceedings;
( x ) if convicted, to surrender to serve a sentence that the court may impose; or
(x& ) to comply with all conditions set forth in the Order Setting Conditions of Release,
Type of Bond

( * ) (1) This is a personal recognizance bond.

( ) (2) This is an unsecured bond of $ oe
( ) (3) This isasecured bond of$ | oe , secured by:
( ) (aps ____ , in cash deposited with the court.

( ) (b) the agreement of the defendant and each surety to forfeit the following cash or other property
(describe the cash or other property, including claims on it — such as a lien, mortgage, or loan — and attach proof of

ownership and value):

If this bond is secured by real property, documents to protect the secured interest may be filed of record.

{ ) (c) abail bond witha solvent surety (attach a copy of the bail bond, or describe it and identify the surety):

Forfeiture or Release of the Bond

Forfeiture of the Bond. This appearance bond may be forfeited if the defendant does not comply with the above
agreement. The court may immediately order the amount of the bond surrendered to the United States, including the
security for the bond, if the defendant does not comply with the agreement. At the request of the United States, the court
may order a judgment of forfeiture against the defendant and each surety for the entire amount of the bond, including
interest and costs.
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Page 2

AO 98 (Rev. 1211) Appearance Bond

 

Release of the Bond. The court may order this appearance bond ended at any time. This bond will be satisfied and the
security will be released when either: (1) the defendant is found not guilty on all charges, or (2) the defendant reports to
serve a sentence.

Declarations

Ownership of the Property, 1, the defendant — and each surety — declare under penalty of perjury that:

(1) all owners of the property securing this appearance bond are included on the bond;
(2) the property is not subject to claims, except as described above; and
(3) I will not sell the property, allow further claims to be made against it, or do anything to reduce its value

while this appearance bond is in effect.

Acceptance. 1, the defendant — and each surety — have read this appearance bond and have either read all the conditions
of release set by the court or had them explained to me. I agree to this Appearance Bond.

I, the defendant — and each surety — declare under penalty of perjury that this information is true. (See 28 U.S.C. § 1746.)

Date; unable to sign due to pandemic

Defendant's signature

 

 

Surety/property owner - printed name Surety/property owner — signature and date
Surety property owner — printed name : " Surety/property owner — signature and date a
‘Surety’ property owner — printed name - Surety/property owner — signature and date 7
CLERK OF COURT

ots Digitally signed
Phili p Tran by Philip Tran

Date: 01/19/2021

Signature of Clerk ar Deputy Clerk
Digitally

Approved. f |
pprovec lhl py signed by G.
Date: 01/19/2021 _ “ ¥ — Michael Harvey

Judge's signature
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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

UNITED STATES OF AMERICA,

Criminal Action No. 21-75 (RDM)

MATTHEW RYAN MILLER,

Defendant.

 

 

ORDER
For the reasons stated on the record, see Minute Entry (Feb. 16, 2021), it is hereby
ORDERED that Defendant’s motion for release, Dkt. 12, pursuant to 18 U.S.C. §§ 3145(b) and
3142(c) is GRANTED. It is further ORDERED that the government’s motion to request certain
conditions of release, Dkt. 19, is GRANTED. And it is further ORDERED that Defendant shall be
released pending trial or further order of the Court, subject to the following conditions:
|. Upon release, Defendant shall immediately report to Pretrial Services at 633 Indiana Ave.
NW, 9th floor, to be placed on a type of electronic monitoring device to be determined by
the agency. If Defendant is released from custody after 4:00 p.m., he shall report to
pretrial services at 10:00 a.m. the next business day to be placed on electronic
monitoring. He is required to maintain and charge the monitoring device properly each
day. Any attempt to tamper with or mask the device’s monitoring capability may result
in revocation of his release and/or additional criminal charges or a finding of contempt.
2. Defendant shall stay out of the District of Columbia except for Court or Pretrial Services
business or to meet with his attorney.
3. Upon release, Defendant shall remain on home incarceration at Michele Miller’s

residence and may not change his residence or telephone number without prior
Case sb 412g O08e67 BARD NPOBNEGMEHE 2 FIG OHROFL Pane 2,08 42

notification to, and approval of, the Court or Pretrial Services. Defendant may travel
from his mother’s home for work and for such other purposes as Pretrial Services
approves. Defendant shall comply with a curfew and must remain in his mother’s home
from 9 p.m. to 6 a.m.

4, Defendant shall notify Pretrial Services of any travel outside his home jurisdiction and
may not travel outside the continental United States without prior approval of the Court.

5. Defendant shall abide by any instructions he receives from pretrial services concerning
his release.

6. Defendant must not violate federal, state, or local law while on release.

7. Defendant must cooperate in the collection of a DNA sample if it is authorized by 42
U.S.C. § 14135a.

8. Defendant must submit to testing for a prohibited substance if required by the Pretrial
Services office or supervising officer. Testing may be used with random frequency and
may include urine testing, the wearing of a sweat patch, a remote alcohol testing system,
and/or any form of prohibited substance screening or testing. Defendant must not
obstruct, attempt to obstruct, or tamper with the efficiency and accuracy of prohibited
substance screening or testing.

9. Defendant must appear in court as required and, if convicted, must surrender as directed
to serve a sentence that the court may impose.

10. Defendant shall not possess any firearm, destructive device or other dangerous weapon.

11. Defendant shall avoid all contact, direct or indirect, with any person who ts or may be a
victim or witness in the investigation or prosecution.

12. Defendant shall surrender any passport to Pretrial Services.

13. Any violation of this Order by the Defendant may be treated as criminal contempt.
CABS set -OREBd7ERRD MR OHUREMett 22 Filed 62/28/24 Page 34P42

SO ORDERED.

/s/ Randolph D. Moss
RANDOLPH D. MOSS

United States District Judge

Date: February 19, 2021
Cased :2>£6R88270TRCL DacethAeh?s:-41 FrdanoA/eye1 pPRags 2 of 42

AQUS (ey L211) Appearance Boad

UNITED STATES DISTRICT COURT
tor the Ei I LL. if D

District of Columbia
FEB 11 2021

United States of America )
v. ) Clerk, U.S. District & Bankruptcy
Rachel Powell ) Case No, 21-mj-197 Courts for the District of Columbia
]
7 1 tii - )

APPEARANCE BOND

Defendant's Agreement

I, Rachel Marie Powell ‘defendant. agree lo follow every order of (is court or any
court that considers this case, and | further avree that this bond may be forfeited if | fail:

( ® ) to appear for court proceedings:

( x ) i convicted, to surrender tu serve a sentence that the court may impose: or

( xX) ta comply with all conditions set forth in the Order Setting Conditions of Release

Type of Bond

( X ) (1) This is a personal recognizance bond with location monitoring and supervision by the Western District of
Pennsylvania.

( ) (2) This is an unsecured bond of $ _
( ) (3) This is a secured bond of § . secured by:
( yas Juveash deposited with the court,
( ) (b) the agreement of the defendant and each surety to forfeit the following cash or other property
fdesorthe the castor other property icity claus ona — saclay et ten mortage. of loan — and attach proot of

ownership cand vale:

If this bond is secured by real property, documents to protect the secured interest may be filed of record.

( y (¢) a bail bond with a solvent SUPELY fattach aecopy atthe bal bond ar describe iw conud identify the SHIT,

Forfeiture or Release of the Bond

Forfeiture of the Bond ‘Vhis appearance bond may be forfeited if the defendant does not comply with the above
agreement. The court may immediately order the amount of the bond surrendered to the United States. including the
security for the bond. if the defendant does notcomply with the agreement. At the request of the United States. the court
may order a judgment of forfeiture against the defendant and each surety for the entire amount of the bond, including
interest and costs,

 
CRRA Re PORATTRE DOMTIRUAGAL FRI PHANAD HReeectd of 42

SUO4 (Rey PLT Appearance Bond

Release of the Bond Vhe court may order this appearance bond ended at any time. This bond will be satistied and the
security will be released when either: (1) the defendant is found not guilty on all charges, or (2) the defendant reports to

serve ad sentence,

Declarations

Ownership of the Property. 1 the defendant — and each surety declare under penalty of perjury that:

(1) all owners of the property securing this appearance bond are included on the bond:
(2) the property is not subject ta chums, excepts deseribed above, and
(3) will not sell the property. allow further claims to be made aainst it, or do anything to reduce its value

While this appearance bond is tn effect.
Acceptance |, the defendant — and each surety — have read this appearance bond and have either read all the conditions
of release set by the court or had them explained to me. Lagree to this Appearance Bond.

I. the defendant — and each surety — declare under penalty off perjury that this information is trae (See 26 F800 9 146)

Date:

Defestcdaen ¥ sageratire

Sareny property owner = pevited name Snrene property aner — stenattre anil date
Shere ty property an ner = prude ctie SCE Properly oven’ Seanatare cad date
Surene property: owner — prnited nanie SCI praperds oti ner = sizeitire aitel dete

CLERK OF COURT

Date: a \l lol wl ,
Shi Mire at fork an Depa Clerk

Approved,

one Atl, Pod] beat A. bocce

Frade sv spanedtiure

Beis t\ Howell Chivt United Stites Disteat Tudie
Casgsd: 24 OrrAPese2 BRM MOMULEM aR S2 Fda o PHeo/21 Phage BF P} 42

AO 98 (Rev. 12/11) Appearance Bond

UNITED STATES DISTRICT COURT
for the

Middle District of Florida

 

UNITED STATES OF AMERICA

VS. CASE NO: 6:21-mj-1047-EJK

JOSEPH RANDALL BIGGS

 

APPEARANCE BOND
Defendant’s Agreement

I, Joseph Randall Biggs, (defendant), agree to follow every order of this court, or any court that considers this
case, and I further agree that this bond may be forfeited if | fail:

M1 to appear for court proceedings;

a) if convicted, to surrender to serve a sentence that the court may impose; or

vi to comply with all conditions set forth in the Order Setting Conditions of Release.

Type of Bond
(1) This is an unsecured bond of $25,000.00
Forfeiture or Release of the Bond

Forfeiture of the Bond. This appearance bond may be forfeited if the defendant does not comply with the
above agreement. The court may immediately order the amount of the bond surrendered to the United States,
including the security for the bond, if the defendant does not comply with the agreement. At the request of the
United States, the court may order a judgment of forfeiture against the defendant and each surety for the entire
amount of the bond, including interest and costs.

Release of the Bond. The court may order this appearance bond ended at any time. This bond will be satisfied
and the security will be released when either: (1) the defendant is found not guilty on all charges, or (2) the
defendant reports to serve a sentence.
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AO 98 (Rev. 12/11) Appearance Bond Page 2
Declarations

Ownership of the Property. |, the defendant — and each surety — declare under penalty of perjury that:

(1) all owners of the property securing this appearance bond are included on the bond;

(2) the property is not subject to claims, except as described above; and

(3) I will not sell the property, allow further claims to be made against it, or do anything to reduce its
value while this appearance bond is in effect.

Acceptance. 1, the defendant — and each surety- have read this appearance bond and have either read all the
conditions of release set by the court or had them explained to me. I agree to this Appearance Bond.

I, the defendant — and each surety — declare under penalty of perjury that this information is true. (See 28 U.S.C.

§ 1746.)
ree

CLERK OF COURT

 

Date: January 20, 2021

 

Date: January 20, 2021 T. Legros
T. LeGros, Deputy Clerk

Approved,

Date: January 20, 2021

£ LMG

EMBRY J. KIDD
UNITED STATES MAGISTRATE JUDGE

 
CaSBsb: 4 GO QR TAH REDAUmMaPs ICAU Page s4opt42

AO 98 (Rev. 12/11) Appearance Bond

UNITED STATES DISTRICT COURT

for the
District of Columbia
United States of America

Vv.
Joshua Colt

)
)
) Case No. 21-MJ-21
)
Defendant )

APPEARANCE BOND

Defendant’s Agreement

I, ___ Joshua Colt - ___ (defendant), agree to follow every order of this court, or any
court that considers this case, and I further agree that this bond may be forfeited if I fail:

(xX) to appear for court proceedings;

( Xx ) if convicted, to surrender to serve a sentence that the court may impose; or
(xX ) to comply with all conditions set forth in the Order Setting Conditions of Release.

 

Type of Bond

( X ) (1) This is a personal recognizance bond.

( ) (2) This is an unsecured bond of $

( ) (3) Thisisasecuredbondof$ | __ , secured by:
( )} (a) S - _ , in cash deposited with the court.
( ) (b) the agreement of the defendant and each surety to forfeit the following cash or other property

(describe the cash or other property, including claims on it — such as a lien, mortgage, or loan — and attach proof of
ownership and value):

If this bond is secured by real property, documents to protect the secured interest may be filed of record.

( ) (c) a bail bond with a solvent surety fattach a copy of the bail bond, or describe it and identify the surety):

Forfeiture or Release of the Bond

Forfeiture of the Bond. This appearance bond may be forfeited if the defendant does not comply with the above
agreement, The court may immediately order the amount of the bond surrendered to the United States, including the
security for the bond, if the defendant does not comply with the agreement. At the request of the United States, the court

may order a judgment of forfeiture against the defendant and each surety for the entire amount of the bond, including
interest and costs.
CRRSd 2 PORE TA TAH PUTT E A PRa CAG Rage shpb42

AO 98 (Rew. 12 11) Appearance Bond

Page 2

 

Release of the Bond. The court may order this appearance bond ended at any time. This bond will be satisfied and the
security will be released when either: (1) the defendant is found not guilty on all charges, or (2) the defendant reports to

serve a sentence.

Declarations

Ownership of the Property. 1, the defendant — and each surety — declare under penalty of perjury that:

(1) all owners of the property securing this appearance bond are included on the bond;
(2) the property is not subject to claims, except as described above; and
(3) I will not sell the property, allow further claims to be made against it, or do anything to reduce its value

while this appearance bond is in effect.

Acceptance. |, the defendant — and each surety — have read this appearance bond and have either read all the conditions
of release set by the court or had them explained to me. [agree to this Appearance Bond.

I, the defendant — and each surety — declare under penalty of perjury that this information is true. (See 28 U.S.C. § 1746.)

Date:

Surety/property owner — printed name

Surety/property owner — printed name

Surety/property owner — printed name

Date: 01/19/2021

Approved,

Date: _ 01/19/2021

unable to sign due to pandemic —

Defendant's signature

 

Surety/property owner — signature and date

Surety/property owner — signature and date

Surety/property owner — signature and date

CLERK OF COURT

vrs Digitally signed
Philip Tran by Philip Tran

Signature of Clerk ar Deputy Clerk

_ Digitally
cli wa signed by G.
weg Michael Harvey

Judge's signature
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AO 199A (Rev, 06/19) Order Setting Conditions of Release Page | of 3 Pages

 

UNITED STATES DISTRICT COURT
for the

District of Columbia

United States of America
VV.

Case No. CR21-73-01

— ee

Nicholas Joseph DeCarlo

Defendant

ORDER SETTING CONDITIONS OF RELEASE

IT IS ORDERED that the defendant’s release is subject to these conditions:

(1)

(5)

The defendant must not violate federal, state, or local law while on release.
The defendant must cooperate in the collection of a DNA sample if it is authorized by 34 U.S.C. § 40702.

The defendant must advise the court or the pretrial services office or supervising officer in writing before making
any change of residence or telephone number.

The defendant must appear in court as required and, if convicted, must surrender as directed to serve a sentence that
the court may impose.

The defendant must appear at: U.S. District Court for the District of Columbia, 333 Constitution Ave NW, WDC

— Place

Judge Beryl A. Howell

on 2/12/2021 10:45 am

Date and Time

If blank, defendant will be notified of next appearance.

The defendant must sign an Appearance Bond, if ordered.
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AO 19IB (Rev. 12/11) Additional Conditions of Release Page 2 of 3 Pages

ADDITIONAL CONDITIONS OF RELEASE
IT [S FURTHER ORDERED that the detendant’s release is subject to the conditions marked below:

( } (6) The defendant is placed in the custody of:

Person or organization _

Address fonlv if above is an arganization) - -

City and state _ ee Tel. No. oe
who agrees to (a) supervise the defendant, (b) use every effort to assure the defendant's appearance at all court proceedings, and {¢) notify the court immediately
if the defendant violates a condition of release or is no longer in the custodian’s custody.

Signed: ee /
Custodian Date
(X) (7) The defendant must:
( % } (a) submit to supervision by and report for supervision to the Pretrial Services as directed
telephone number (817) 900-1863, no later than

 

 

 

 

( ) (b) continue or actively seek employment.

( ) (c) continue or start an education program.

( ) (d) surrender any passport to: ee 7

{ X ) (e) not obtain a passport or other international travel document.

{ X } () abide by the following restrictions on personal association, residence, or travel: Travel restricted to the Northern District

of Texas. Court approval needed for travel outside continental U.S.

{ } (g) avoid all contact, directly or indirectly, with any person who ts or may be a victim or witness in the investigation or prosecution,
including: _ a ee ee _

{ ) (h) get medical or psychiatric treatment: ee ee _ _

( ) (4) returntocustodyeach sat o'clock after being released at ___ o'clock for employment, schooling,
or the following purposes: ee ee ee

( ) () maintain residence at a halfway house or community corrections center, as the pretrial services office or supervising officer considers
necessary.

( ) (k) not possess a firearm, destructive device, or other weapon.

( ) (I) not use alcohol ( ) at all ( ) excessively.

( X ) (m) not use or unlawfully possess a narcotic drug or other controlled substances defined in 21 U.S.C. § 802, unless prescribed by a licensed
medical practitioner.

( ) (n) submit to testing fora prohibited substance if required by the pretrial services office or supervising officer. Testing may be used with random
frequency and may include urine testing, the wearing of a sweat patch, a remote alcohol testing system, and/or any form of prohibited
substance screening or testing. The defendant must not obstruct, attempt to obstruct, or tamper with the efficiency and accuracy of prohibited
substance screening or testing.

( ) (0) participate in a program of inpatient or outpatient substance abuse therapy and counseling if directed by the pretrial services office or
supervising officer.

( % ) (p) participate in one of the following location restriction programs and comply with its requirements as directed.

(x ) (i) Curfew. You are restricted to your residence every day ( )irom 7:00pm tw 6:00am .or( x jas
directed by the pretrial services office or supervising officer; or

{ ) 1) Home Detention. Youare restricted to your residence atall times except foremployment; education; religious services; medical,
substance abuse, or mental health treatment; attorney visits; court appearances: court-ordered obligations: or other activities
approved in advance by the pretrial services office or supervising officer; or

( ) (11) Home Incarceration. You are restricted to 24-hour-a-day lock-down at your residence except for medical necessities and
court appearances or other activities specifically approved by the court.

( X ) (q) submit to location monitoring as directed by the pretrial services office or supervising officer and comply with all of the program
requirements. and instructions provided.

( ) You must pay all or part of the cost of the program based on your ability to pay as determined by the pretrial services office or
supervising officer.

( ) (1) report as soon as possible, to the pretrial services office or supervising officer, every contact with law enforcement personnel, including
arrests. questioning, or traffic stops.

( x ) {s) Stay away from Washington, DC except for court, meetings with attorney or PSA.

Do not possess firearms. Comply with courtesy supervision in the Northern District of Texas.

Curlew can be modified by NDTX upon verification of work schedule.

Completely prohibited from posting on Facebook and YouTube, all posts on other online forums. websites, or other social
media sites to be done using real name Nicholas DeCarlo.

Report any arrests and traffic stops to Pretrial within 72 hours
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AQ 199C (Rev. 09/08) Advice of Penalties Page 3 of 3 Pages

ADVICE OF PENALTIES AND SANCTIONS

 

TO THE DEFENDANT:
YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:

Violating any of the foregoing conditions of release may result in the immediate issuance of a warrant for your arrest, a
revocation of your release, an order of detention, a forfeiture of anv bond, and a prosecution for contempt of court and could result in
imprisonment, a fine, or both.

While on release. if you commit a federal felony offense the punishment is an additional prison term of not more than ten years
and for a federal misdemeanor offense the punishment is an additional prison term of not more than one year. This sentence will be
consecutive (i.2., in addition to) to any other sentence you receive.

It is a crime punishable by up to ten years in prison, and a $250,000 fine, or both, to: obstruct a criminal investigation:
tamper with a witness, victim, or informant; retaliate or attempt to retaliate against a witness, victim, or informant; or intimidate or attempt
to intimidate a witness, victim, juror, informant, or officer of the court. The penalties for tampering, retaliation, or intimidation are
significantly more serious if they involve a killing or attempted killing.

If, after release, you knowingly fail to appear as the conditions of release require. or to surrender to serve a sentence,
you may be prosecuted for failing to appear or surrender and additional punishment may be imposed. If you are convicted of:

(1) an offense punishable by death, lite imprisonment, or imprisonment for a term of fifteen years or more — you will be fined

not more than $250,000 or imprisoned for not more than 10 years, or both;

(2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years — you will be fined not

more than $250,000 or imprisoned for not more than five years, or both:

(3) any other felony — you will be fined not more than $250,000 or imprisoned not more than two years, or both:

(+) amisdemeanor— you will be fined not more than $100,000 or imprisoned not more than one year, or both.

A term of imprisonment imposed for failure to appear or surrender will be consecutive to any other sentence you receive. In
addition, a failure to appear or surrender may result in the forfeiture of any bond posted.

Acknowledgment of the Defendant

| acknowledge that I am the defendant in this case and that Lam aware of the conditions of release. | promise to obey all conditions
of release, to appear as directed, and surrender to serve any sentence imposed. I am aware of the penalties and sanctions set forth above.

Acknowledged on the record on February 10, 2021.

 

Defendant's Signature
City and State

Directions to the United States Marshal

(xx) The defendant is ORDERED released after processing.

( The United States marshal is ORDERED to keep the defendant in custody until notified by the clerk or judge that the defendant
has posted bond and/or complied with all other conditions for release. If still in custody, the defendant must be produced before

the appropriate judge at the time and place specified.

Date: 02/10/2021 nune pro tune
Judicial Officer's Signature

Magistrate Judge Robin Meriweather

Printed name and title

DISTRIBUTION: COURT = DEFENDANT — PRETRIAL SERVICE U.S) ATTORNEY US. MARSHAL
CORRE: FD EORTTIBAHD PSEORU ADEA THRU AREY Page 3oqtA2

AO 98 (Rev. 12-11) Appearance Bond

 

UNITED STATES DISTRICT COURT

for the
District of Columbia

United States of America

)
V. )
Nicholas Ochs \ Case No. 21-MJ-15
)
)

Defendant

APPEARANCE BOND

Defendant’s Agreement

I, Nicholas Ochs — __ (defendant), agree to follow every order of this court, or any
court that considers this case, and | further agree that this bond may be forfeited if I fail:

( X ) to appear for court proceedings;

(xX ) if convicted, to surrender to serve a sentence that the court may impose; or
(x ) to comply with all conditions set forth in the Order Setting Conditions of Release.

Type of Bond

( * ) (1) This is a personal recognizance bond.

( ) (2) This ts an unsecured bond of $

( ) (3) This is asecured bondof$ , secured by:
( y(a)S | . in cash deposited with the court.
( ) (b) the agreement of the defendant and each surety to forfeit the following cash or other property

(describe the cash or other property, including claims on it — such as a lien, mortgage, or loan — and attach proof of

ownership and value):

If this bond is secured by real property, documents to protect the secured interest may be filed of record.

( ) (c) a bail bond with a solvent surety (attach a capy of the bail bend, or describe it and identify the surety):

Forfeiture or Release of the Bond

Forfeiture of the Bond. This appearance bond may be forfeited if the defendant does not comply with the above
agreement, The court may immediately order the amount of the bond surrendered to the United States, including the
security for the bond, if the defendant does not comply with the agreement. At the request of the United States, the court
may order a judgment of forfeiture against the defendant and each surety for the entire amount of the bond, including
interest and costs.
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Page 2

AO 98 (Rev, 12.11) Appearance Bond

 

Release of the Bond. The court may order this appearance bond ended at any time. This bond will be satisfied and the
security will be released when either: (1) the defendant is found not guilty on all charges, or (2) the defendant reports to
serve a sentence.

Declarations

Ownership of the Property. I, the defendant — and each surety — declare under penalty of perjury that:

(1) all owners of the property securing this appearance bond are included on the bond;
(2) the property is not subject to claims, except as described above; and
(3) I will not sell the property, allow further claims to be made against it, or do anything to reduce its value

while this appearance bond ts in effect.

Acceptance. I, the defendant — and each surety — have read this appearance bond and have either read all the conditions
of release set by the court or had them explained to me. I agree to this Appearance Bond.

I, the defendant — and each surety — declare under penalty of perjury that this information is true. (See 28 U.S.C. § 1746.)

Date: _ unable to sign due to pandemic

Defendant's signature

 

Surety/property — = printed name Surety/property owner — signature and date
OO Surety property owner — printed name 7 Surety/property owner — signature and date
Surety/property owner — printed name OO Surety/property owner — signature and date -
CLERK OF COURT

An Digitally signed
Philip Tran. philip tran
Date: _ 0115/2021 oe

Signature of Clerk or Deputy Clerk

| ae Digitally
Approved. (nfl : y signed by G.

Date: 01/15/2021 Michael Harvey -

Judge's signature
Case 2b erePQeved TMC ASEARe Ea THROM PAPA Fage4l gine

AO 98 (Rev. 12:11) Appearance Bond

UNITED STATES DISTRICT COURT

tor the
District of Columbia
United States of America

)
V. )
Jenny Cudd ) Case No, 21-MJ-35 (1)
)
)

Defendant

APPEARANCE BOND

Defendant’s Agreement
I, ; — denny Cudd ee (defendant), agree to follow every order of this court, or any
court that considers this case, and I further agree that this bond may be forfeited if I fail:
{ X ) to appear for court proceedings;

( x ) if convicted, to surrender to serve a sentence that the court may impose; or
(xX ) to comply with all conditions set forth in the Order Setting Conditions of Release.

Type of Bond
( X ) (1) This is a personal recognizance bond.
{ ) (2) This ts an unsecured bond of $
( ) (3) This is a secured bond of $ ee _, secured by:
( ) (a) § __ , in cash deposited with the court.
( ) (b) the agreement of the defendant and each surety to forfeit the following cash or other property

(describe the cash or other property, including claims on it — such as a lien, mortgage, or loan — and attach proof of

ownership and value):

If this bond is secured by real property, documents to protect the secured interest may be filed of record.

{ ) (c) a bail bond with a solvent surety (attach a copy of the bail bond, or describe it and identify: the surety)

Forfeiture or Release of the Bond

Forfeiture of the Bond. This appearance bond may be forfeited if the defendant does not comply with the above
agreement. The court may immediately order the amount of the bond surrendered to the United States, including the
security for the bond, if the defendant does not comply with the agreement. At the request of the United States, the court
may order a judgment of forfeiture against the defendant and each surety for the entire amount of the bond, including
interest and costs.
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Page 2

AO 98 (Rev. 12-11) Appearance Bond

 

Release of the Bond. The court may order this appearance bond ended at any time. This bond will be satisfied and the
security will be released when either: (1) the defendant is found not guilty on all charges, or (2) the defendant reports to
serve a sentence.

Declarations

Ownership of the Property. 1, the defendant — and each surety — declare under penalty of perjury that:

(1) all owners of the property securing this appearance bond are included on the bond;
(2) the property is not subject to claims, except as described above; and
(3) I will not sell the property, allow further claims to be made against it, or do anything to reduce its value

while this appearance bond is in effect.

Acceptance. 1, the defendant — and each surety — have read this appearance bond and have either read all the conditions
of release set by the court or had them explained to me. [ agree to this Appearance Bond.

I, the defendant — and each surety — declare under penalty of perjury that this information is true. (See 28 U.S.C. § 1746.)

Date; unable to sign due to pandemic
Defendant's signature

Suretv/property owner — signature and date

Sturetv/property owner — printed name

 

 

Suretv/property owner — signature and date

 

 

Suretw property owner — printed name

Surety/property owner — printed name Surety/property owner — signature and date

CLERK OF COURT
vy Digitally signed
Philip Tran, 5.)
by Philip Tran
Date: 01/21/2021

Signature of Clerk or Deputy Clerk

Digitally

red. hy
Approve fod its. signed by G.
Date: 01/21/2021 - me Michael Harvey

Judge's signature
